Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 1 of 31 PageID #: 11594



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION

   TOTAL REBUILD, INC.                    )
                                          )
        Plaintiff/Counterclaim-Defendant, )   Case No. 6:15-cv-01855-TAD-CBW
                                          )
   v.                                     )   JUDGE TERRY A. DOUGHTY
                                          )
   PHC FLUID POWER, L.L.C.,               )   MAGISTRATE JUDGE WHITEHURST
                                          )
        Defendant/Counterclaim-Plaintiff. )   JURY TRIAL DEMANDED
                                          )


                    DEFENDANT PHC FLUID POWER, L.L.C.’S
             PRETRIAL MEMORANDUM ON CONTESTED ISSUES OF LAW
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 2 of 31 PageID #: 11595



                                                                     Contents
   I.      INEQUITABLE CONDUCT .................................................................................................. 1
        A. Inequitable Conduct Based on Mr. Lavergne’s Knowing and Intentional Non-Disclosure
        of Material Prior Art to the Patent Office. .................................................................................. 1
        B. Inequitable Conduct for Mr. Lavergne’s Failure to Name a Co-Inventor. .......................... 6
        C. The Court May Infer an Intent to Deceive from Total’s Litigation Misconduct and/or as a
        Discovery Sanction. .................................................................................................................... 7
   II. INVALIDITY UNDER 35 U.S.C. §§ 102 AND 103 .............................................................. 8
        A. References and Activities that Qualify as “Prior Art” ......................................................... 9
           i.      35 U.S.C. § 102(a)............................................................................................................ 9
           ii.     35 U.S.C. § 102(b). ........................................................................................................ 13
        B. Obviousness ....................................................................................................................... 18
   III.          DAMAGES AND ATTORNEY FEES, EXPENSES, AND COSTS ............................... 20
        A. Damages Generally ............................................................................................................ 20
        B. Lack of Standing ................................................................................................................ 22
        C. Willfulness ......................................................................................................................... 24
        D. Exceptional Case for Attorney Fees, Expenses and Costs ................................................. 24
        E. Attorney Fees, Expenses and Costs Under 28 U.S.C. § 1927 ........................................... 25




                                                                            i
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 3 of 31 PageID #: 11596



                                                                 Table of Authorities
   Cases
   Abbott GmbH & Co., KG v. Centocor Ortho Biotech, Inc., 870 F. Supp. 2d 206 (D. Mass. 2012) ........... 10
   Advanced Magnetic Closures, Inc. v. Rome Fastener Corp., 607 F.3d 817 (Fed. Cir. 2010) ...................... 6
   American Calcar, Inc. v. American Honda Motor Co., Inc., 768 F.3d 1185 (Fed. Cir. 2014) ..................... 4
   ATEN Int’l Co., Ltd. v. Uniclass Tech. Co., Ltd., 2019 WL 3558562 (Fed. Cir. Aug. 6, 2019) ................... 9
   Briggs & Stratton Corp. v. Chonqing RATO Power Co., Ltd., Civ. No. 5:13-cv-01316, 2015 WL
      4603553, (N.D.N.Y. July 30, 2015) ........................................................................................................ 16
   CA, Inc. v. Simple.com, Inc., 780 F. Supp. 2d 196 (E.D.N.Y. 2009) .......................................................... 11
   Cali v. Eastern Airlines, Inc., 442 F.2d 65 (2d Cir. 1971) .......................................................................... 13
   Checkpoint Sys., Inc. v. All-Tag Sec. S.A., 412 F.3d 1331 (Fed. Cir. 2005) ................................................. 6
   Chrimar Sys., Inc. v. Cisco Sys., Inc., 318 F. Supp. 2d 476 (E.D. Mich. 2004) ......................................... 11
   Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560 (Fed. Cir. 1988), cert. denied, 488 U.S. 892
      (1988) ................................................................................................................................................ 11, 16
   Delano Farms Co. v. California Table Grape Comm’n, 940 F. Supp. 2d 1229 (E.D. Cal. 2013).............. 14
   Ecolochem, Inc. v. Southern California Edison Co., 227 F.3d 1361 (Fed. Cir. 2000) ............................... 12
   Egbert v. Lippmann, 104 U.S. 333 (1881) .................................................................................................. 14
   Electric Storage Battery Co. v. Shimadzu, 307 U.S. 5 (1939) .................................................................... 15
   Electromotive Division of General Motors Corp. v. Transportation Sys. Division of General Electric Co.,
      417 F.3d 1203 (Fed. Cir. 2005)............................................................................................................... 16
   Energy Heating, LLC v. Heat On-The-Fly, LLC, 889 F.3d 1291 (Fed. Cir. 2018) ................................. 3, 16
   Eolas Technologies Inc. v. Microsoft Corp., 399 F.3d 1325 (Fed. Cir. 2005) ............................................ 14
   In re Caveney, 761 F.2d 671 (Fed. Cir. 1985) ............................................................................................ 15
   In re Chudik, 851 F.3d 1365 (Fed. Cir. 2017) .............................................................................................. 8
   In re Epstein, 32 F.3d 1559 (Fed. Cir. 1994) ................................................................................................ 9
   In re Hall, 781 F.2d 897 (Fed. Cir. 1986) ................................................................................................... 16
   In re Kollar, 286 F.3d 1326 (Fed. Cir. 2002).............................................................................................. 16
   In re VerHoef, 888 F.3d 1362 (Fed. Cir. 2018) ............................................................................................ 6
   Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374 (Fed. Cir. 2005) ................................................... 13
   Iovate Health Sciences, Inc. v. Bio-Engineered Supplements & Nutrition, Inc., 2008 WL 7842052 (E.D.
      Tex. Aug. 27, 2008) ................................................................................................................................ 12
   J.A. LaPorte, Inc. v. Norfolk Dredging Co., 787 F.2d 1577 (Fed. Cir. 1986) ............................................ 15
   Jazz Pharma., Inc. v. Amneal Pharma., LLC, 895 F.3d 1347 (Fed. Cir. 2018) .......................................... 16
   Junker v. Medical Components, Inc., No. 13-4606, 2016 WL 7427767 (E.D. Pa. Dec. 21, 2016) .............. 6
   Kinetic Concepts, Inc. v. Smith & Nephew, Inc., 688 F.3d 1342 (Fed. Cir. 2012) ....................................... 9
   KSR Intern. Co. v. Teleflex Inc., 550 U.S. 398 (2007) .................................................................................. 9
   Lockwood v. American Airlines, Inc., 107 F.3d 1565 (Fed. Cir. 1997) ...................................................... 11
   Luma Corp. v. Stryker Corp., 2006 WL 2076780 (S.D.W. Va. July 24, 2016) .......................................... 15
   Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572 (Fed. Cir. 1996)...................................................................... 10
   Medicines Co. v. Hospira, Inc., 827 F.3d 1363 (Fed. Cir. 2016) ................................................................ 15
   Medtronic, Inc. v. Barry, 891 F.3d 1368 (Fed. Cir. 2018) .......................................................................... 16
   Minn. Mining & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294 (Fed. Cir. 2002) ............................................ 12



                                                                                  ii
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 4 of 31 PageID #: 11597



   Morris & Associates, Inc. v. Cooling & Applied Tech., Inc., 2011 WL 2580668 (E.D.N.C. Jun. 29, 2011)
      ................................................................................................................................................................ 10
   Motionless Keyboard Co. v. Microsoft Corp., 486 F.3d 1376 (Fed. Cir. 2007) ......................................... 14
   Netscape Comms. Corp. v. Konrad, 295 F.3d 1315 (Fed. Cir. 2002) ................................................... 13, 14
   Novo Nordisk Pharma., Inc. v. Bio-Tech. General Corp., 424 F.3d 1347 (Fed. Cir. 2005) ....................... 12
   Old Town Canoe Co. v. Confluence Hold. Corp., 448 F.3d 1309 (Fed. Cir. 2006) ...................................... 3
   Ormoco Corp. v. Align Technology, Inc., 463 F.3d 1299 (Fed. Cir. 2006) ................................................ 10
   Panduit Corp. v. Dennison Mfg., 810 F.3d 1561 (Fed. Cir. 1987) ............................................................... 9
   PerSeptive Biosystems, Inc. v. Pharmacia Biotech, Inc., 225 F.3d 1315 (Fed. Cir. 2000) ........................... 6
   Pfaff v. Wells Elec., Inc., 525 U.S. 55 (1998) ............................................................................................. 15
   Regeneron Pharma., Inc. v. Merus N.V., 864 F.3d 1343 (Fed. Cir. 2017) ................................................... 7
   Research Equip. Solutions v. Gary W. Clem, Inc., 2012 WL 6650873 (D. Kan. Dec. 20, 2012) ............... 15
   ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860 (Fed. Cir. 2010) .............................................................. 13
   Schlumberger Tech. Corp. v. BICO Drilling Tools, Inc., 2019 WL 2450948 (S.D. Tex. June 12, 2019) .. 13
   Therasense, Inc. v. Becton Dickinson and Co., 649 F.3d 1276 (Fed. Cir. 2011) .................................. 1, 2, 3
   Transocean Offshore Deepwater Drilling, Inc. v. GlobalSantaFe Corp., 443 F. Supp. 2d 836 (S.D. Tex.
     2006) ....................................................................................................................................................... 17
   TriMed, Inc. v. Stryker Corp., 608 F.3d 1333 (Fed. Cir. 2010) .................................................................... 9
   TypeRight Keyboard Corp. v. Microsoft Corp., 374 F.3d 1151 (Fed. Cir. 2004) ......................................... 9
   UCB, Inc. v. Watson Laboratories, Inc., 927 F.3d 1272 (Fed. Cir. 2019) ............................................ 10, 11
   Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d 1352 (Fed. Cir. 2011) ........................................................... 9
   Statutes
   35 U.S.C. § 102 ........................................................................................................................... 9, 10, 11, 13
   35 U.S.C. § 103 ......................................................................................................................................... 8, 9
   35 U.S.C. § 285 ............................................................................................................................................. 3
   37 CFR § 1.56 ....................................................................................................................................... 1, 2, 3
   Treatises
   1-3 Chisum on Patents § 3.08 ..................................................................................................................... 10
   2-6 Chisum § 6.02 ....................................................................................................................................... 15




                                                                                    iii
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 5 of 31 PageID #: 11598



          For its memorandum on contested issues of law, PHC Fluid Power, L.L.C. (“PHC”) states:

   I.     INEQUITABLE CONDUCT

          A.      Inequitable Conduct Based on Mr. Lavergne’s Knowing and Intentional
                  Non-Disclosure of Material Prior Art to the Patent Office.

          Plaintiff Total Rebuild, Inc.’s (“Plaintiff’s”) infringement claims are barred by the

   affirmative defense of inequitable conduct. “Inequitable conduct is an equitable defense to patent

   infringement that, if proven, bars enforcement of a patent.” Therasense, Inc. v. Becton Dickinson

   and Co., 649 F.3d 1276, 1285 (Fed. Cir. 2011) (en banc). To prevail on a claim of inequitable

   conduct based on nondisclosure of prior art to the PTO, the accused infringer must show the prior

   art was “material” and the patentee withheld the prior art with the specific intent to deceive the

   Patent and Trademark Office (“PTO”). Id. at 1290-91. An exception to these requirements applies

   “in cases of affirmative egregious misconduct.” Id. at 1292. An example of affirmative egregious

   misconduct is “the filing of an unmistakably false affidavit.” Id. The evidence will show the prior

   art withheld by Mr. Lavergne, the inventor identified on the face of U.S. Patent No. 8,146,428 (the

   “’428 Patent”), was material to the validity and patentability of the claims in the application, and

   Mr. Lavergne withheld the prior art with the intent to deceive the PTO.

          The element of materiality is determined by the standard applied by the PTO. An applicant

   has a duty to disclose material prior art to the PTO during the prosecution of a patent application.

   See 37 CFR § 1.56 (“Each individual associated with the filing and prosecution of a patent

   application has a duty of candor and good faith in dealing with the Office, which includes a duty

   to disclose to the Office all information known to that individual to be material to patentability as

   defined in this section. The duty to disclose information exists with respect to each pending claim

   until the claim is cancelled or withdrawn from consideration, or the application becomes

   abandoned. . .. However, no patent will be granted on an application in connection with which


                                                    1
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 6 of 31 PageID #: 11599



   fraud on the Office was practiced or attempted or the duty of disclosure was violated through bad

   faith or intentional misconduct.”). Under 37 CFR § 1.56, the standard applied by the PTO,

   information is “material to patentability when it is not cumulative to information already of record

   or being made of record in the application, and (1) It establishes, by itself or in combination with

   other information, a prima facie case of unpatentability of a claim; or (2) It refutes, or is

   inconsistent with, a position the applicant takes in: (i) Opposing an argument of unpatentability

   relied on by the Office, or (ii) Asserting an argument of patentability.” As summarized by the

   Federal Circuit in Therasense, “as a general matter, the materiality required to establish inequitable

   conduct is but-for materiality. When an applicant fails to disclose prior art to the PTO, that prior

   art is but-for material if the PTO would not have allowed a claim had it been aware of the

   undisclosed prior art.” 649 F.3d at 1291. “Often the patentability of a claim will be congruent with

   the validity determination—if a claim is properly invalidated in district court based on the

   deliberately withheld reference, then that reference is necessarily material because a finding of

   invalidity in a district court requires clear and convincing evidence, a higher evidentiary burden

   than that used in prosecution at the PTO.” Id. at 1292. “However, even if a district court does not

   invalidate a claim based on a deliberately withheld reference, the reference may be material if it

   would have blocked issuance under the PTO’s different evidentiary standards.” Id. Thus, in

   determining whether the reference is material, “the court should apply the preponderance of the

   evidence standard and give claims their broadest reasonable construction.” 1 Id. at 1291-92; see




   1
     Plaintiff incorrectly asserts that materiality must be proven by clear and convincing evidence.
   The law is clear: the preponderance of the evidence standard applies. American Calcar, 768 F.3d
   at 1189 (“This means that to assess materiality, the court must look to the standard used by the
   PTO to allow claims during examination. To wit: The court should apply the preponderance of the
   evidence standard and give claims their broadest reasonable construction.”). Under either standard,
   the undisclosed prior art was material.
                                                     2
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 7 of 31 PageID #: 11600



   also 37 CFR § 1.56(b) (“A prima facie case of unpatentability is established when the information

   compels a conclusion that a claim is unpatentable under the preponderance of evidence, burden-

   of-proof standard, giving each term in the claim its broadest reasonable construction consistent

   with the specification...”).

           Generally, “the accused infringer must prove that the patentee acted with the specific intent

   to deceive the PTO.” Therasense, 649 F.3d at 1290. “In a case involving nondisclosure of

   information, clear and convincing evidence must show that the applicant made a deliberate

   decision to withhold a known material reference.” Id. However, “[b]ecause direct evidence of

   deceptive intent is rare, a district court may infer intent from indirect and circumstantial evidence.”

   Id. The clear and convincing standard is met when “the specific intent to deceive [is] the single

   most reasonable inference able to be drawn from the evidence.” Id.

           Importantly, “the remedy for inequitable conduct is the ‘atomic bomb’ of patent law.

   Unlike validity defenses, which are claim specific, inequitable conduct regarding a single claim

   renders the entire patent unenforceable.” Id. at 1288 (emphasis added). “Further, prevailing on a

   claim of inequitable conduct often makes a case ‘exceptional,’ leading potentially to an award of

   attorneys’ fees under 35 U.S.C. § 285.” Id. at 1289. “Inequitable conduct is a matter for the court

   to decide.” Old Town Canoe Co. v. Confluence Hold. Corp., 448 F.3d 1309, 1322 (Fed. Cir. 2006).

           Two exemplary cases applying inequitable conduct are Energy Heating and American

   Calcar. Energy Heating involved a failure to disclose sales and public disclosures more than one

   year before the application, a remarkably similar fact pattern to the present case. In Energy Heating

   the patent related “to a method and apparatus for the continuous preparation of heated water flow

   for use in hydraulic fracturing, also known as ‘fracing.’” Energy Heating, LLC v. Heat On-The-

   Fly, LLC, 889 F.3d 1291, 1297-98 (Fed. Cir. 2018). In affirming the district court’s holding of



                                                     3
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 8 of 31 PageID #: 11601



   patent invalidity for inequitable conduct, the Federal Circuit held:

          In its finding of facts, the district court found that the critical date for the on-sale
          bar and public-use bars of § 102(b) was September 18, 2008, one year prior to the
          earliest provisional application—U.S. Patent App. No. 61/276,950. The district
          court further found clear and convincing evidence of substantial on-sale and public
          uses of the claimed invention as early as October 2006, well before the critical date.
          Specifically, the court found that Mr. Hefley admitted at trial that he and his
          companies used water-heating systems containing all the elements of claim 1 on at
          least 61 frac jobs before the critical date. The court further found that invoices
          reflected that Mr. Hefley’s companies collected over $1.8 million for those pre-
          critical date heat-on-the-fly services.

          The court also found that Mr. Hefley could not claim ignorance of either the
          significance of the “critical date” as it related to his patent, or the one-year grace
          period for filing a patent application on his claimed invention. The court found that
          Mr. Hefley himself testified at trial that his business partner had discussed with him
          the fact that the patent process required filing the application within one year after
          the invention was offered for sale.

   Id. at 1300 (emphasis added).

          In American Calcar, the patent related to “a multimedia system for use in a car to access

   vehicle information and control vehicle functions.” American Calcar, Inc. v. American Honda

   Motor Co., Inc., 768 F.3d 1185, 1187 (Fed. Cir. 2014). The Federal Circuit affirmed the district

   court’s materiality finding and held that while the prior art reference did not disclose each element

   of claim 1 of the patent-at-issue, claim 1 would have been obvious in view of the non-disclosed

   prior art because “it would have been obvious to a person of ordinary skill in the art to include

   different information in the [prior art system].” Id. at 1190. The Federal Circuit further confirmed

   the district court’s finding of an intent to deceive and held that while the patentee disclosed the

   existence of the prior art system to the PTO, those “disclosures exclude material information about

   the [prior art] system,” and “[p]artial disclosure of material information about the prior art to the

   PTO cannot absolve a patentee of intent if the disclosure is intentionally selective.” Id. The Court

   acknowledged there was no direct evidence of deceptive intent but reaffirmed that “[b]ecause



                                                     4
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 9 of 31 PageID #: 11602



   direct evidence of deceptive intent is rare, a district court may infer intent from indirect and

   circumstantial evidence . . ..” Id. at 1190-91.

          Here, PHC will show that Mr. Lavergne—who alleges to have “been the sole owner, sole

   director, and sole shareholders of Total for nearly twenty (20) years” (Dkt. 66-2, ¶ 3) and Total’s

   “alter ego” (Dkt. 66 at 1, 12)—engaged in inequitable conduct by failing to disclose to the USPTO

   numerous public disclosures, offers for sale, sales, installations, and uses of Millennium Tests

   System by Total for over two years before the critical date. The public disclosures, offers for sale,

   sales, installations, and uses of the Millennium Tests Systems were material to the application that

   issued as the ’428 Patent because at least claims 1 and 16 would not have issued had Mr. Lavergne

   disclosed them to the USPTO. In its Motion for Partial Summary Judgment on Inequitable Conduct,

   Total did not dispute the Millennium Test Systems were material. See generally Total’s MISO

   Motion for Par. Sum. Judg. on Ineq. Con. (Dkt. 170-1).

          Mr. Lavergne’s intent to deceive the USPTO through the non-disclosure is readily apparent

   from record evidence alone, and certainly given further evidence to be presented. The evidence

   will show Mr. Lavergne was substantially involved with all aspects of the sales and installations

   of the invalidating Millennium Test Systems, and those sales and installations resulted in hundreds

   of thousands of dollars of income for Total. Mr. Lavergne admitted at his deposition he knew of

   his duty to disclose the Millennium Test System to the USPTO but alleges he failed to do so

   because he “had delegated Total’s officer manager at the time, a Ms. Tara Benoit, to provide that

   disclosure to Mr. Phung [the patent attorney], however, Ms. Benoit failed to do so . . . .” Total’s

   MISO Motion for Par. Sum. Judg. on Ineq. Con. at 4 (Dkt. 170-1). The Court has already found

   this excuse “implausible.” Ruling and Order at 5 (Dkt. 252) (“That explanation is shaky when




                                                     5
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 10 of 31 PageID #:
                                  11603


 considered on its own; it becomes implausible when paired with circumstantial evidence

 suggesting Lavergne intended to deceive the PTO.”).

        B.      Inequitable Conduct for Mr. Lavergne’s Failure to Name a Co-Inventor.

        The ’428 Patent also is unenforceable for inequitable conduct because the evidence will

 show Mr. Lavergne knowingly failed to name a co-inventor(s). Under 35 U.S.C. § 102(f), no patent

 shall issue if the applicant “did not himself invent the subject matter sought to be patented.” “This

 provision ‘makes the naming of the correct inventor or inventors a condition of patentability;

 failure to name them renders a patent invalid.’” In re VerHoef, 888 F.3d 1362, 1367-68 (Fed. Cir.

 2018) (citations omitted). “[W]hen named inventors deliberately conceal a true inventor’s

 involvement, the applicants have committed inequitable conduct and the patent is unenforceable.”

 Junker v. Medical Components, Inc., No. 13-4606, 2016 WL 7427767, at *7 (E.D. Pa. Dec. 21,

 2016) (citing Advanced Magnetic Closures, Inc. v. Rome Fastener Corp., 607 F.3d 817, 828 (Fed.

 Cir. 2010)); see also PerSeptive Biosystems, Inc. v. Pharmacia Biotech, Inc., 225 F.3d 1315 (Fed.

 Cir. 2000). “Inventorship is a question of law with underlying factual issues.” Checkpoint Sys., Inc.

 v. All-Tag Sec. S.A., 412 F.3d 1331, 1338 (Fed. Cir. 2005).

        Mr. Lavergne concealed joint inventors for two features claimed in the ’428 Patent (Mr.

 Lavergne is not even an inventor of the ’428 Patent). The first claimed feature invented by someone

 other than Mr. Lavergne is the placement of the pumps in the bunker with the tools being tested

 (which is claimed in all claims of the ’428 Patent). The evidence will show Mr. Lavernge copied

 this feature from a third-party system. T.Lavergne Dep. Tr. at 239:2-241:12 (Dkt. 182). Mr.

 Lavergne testified previously, and will have to testify, he obtained this feature from a Baker

 Hughes facility in 2003 and 2004. Id. Mr. Lavergne readily identified the system when shown

 images of it. Id. He admitted that it contained the claimed feature, and he admitted he worked on

 the system in 2003 or 2004. Id. In so doing he admitted he did not invent this feature but obtained
                                                  6
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 11 of 31 PageID #:
                                  11604


 it elsewhere. Not only did Mr. Lavergne admit that he did not invent this feature, but he admitted

 that he invented no feature of claim 1 by testifying the system he worked on in 2003 and 2004 had

 all the features of claim 1. Not only did Mr. Lavergne admit he did not name a joint inventor of

 claim 1, but he admitted that he is not even an inventor (joint or otherwise) of claim 1.

        The second feature is the interlock that bleeds pressure when the door is opened (which is

 claimed in claims 3-5, 11-15, 18-19). Mr. Polk’s trial deposition testimony shows he and engineers

 at Cameron conceived of the idea and conveyed it to Mr. Lavergne. Polk Dep. Tr. at 24:20-28:10

 (Dkt. 185). The evidence will show Mr. Lavergne did not invent the interlock feature and failed to

 name Mr. Polk or Cameron as joint inventors. Mr. Lavergne has been unable to identify in this

 litigation any other alleged novel feature claimed in the ’428 Patent he did invent. Mr. Lavergne

 simply obtained a patent for systems and features he obtained from others. PHC will show the ’428

 Patent also is invalid for inequitable conduct because Mr. Lavergne failed to name joint inventors.

        C.      The Court May Infer an Intent to Deceive from Total’s Litigation
                Misconduct and/or as a Discovery Sanction.

        A court may draw an adverse inference of an intent to deceive where the patentee engages

 in misconduct during litigation and is accused of misconduct during prosecution. Regeneron

 Pharma., Inc. v. Merus N.V., 864 F.3d 1343, 1364 (Fed. Cir. 2017). The evidence will show Total’s

 litigation misconduct supports an adverse inference of the intent to deceive.

        PHC will show Total deliberately concealed key documents and information during

 discovery in this case to conceal Mr. Lavergne’s inequitable conduct in obtaining the ’428 Patent.

 The basis for PHC’s assertion is set out on pages 5-10 of its Response in Opposition to Total’s

 Motion for Partial Summary Judgment (“Response”). Response (Dkt. 251). Discovery has shown

 and PHC will show Total withheld all invoices, documents, and information that disclosed its pre-

 critical date sales of its Millennium Test System. Total first asserted that all pre-critical date


                                                  7
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 12 of 31 PageID #:
                                  11605


 documents had been destroyed in a flood, and later, that they had been destroyed under Total’s

 document retention policy. Total also provided false and misleading information as to its pre-

 critical date activities (such as the features of the systems it was selling pre-critical date) to further

 conceal the inequitable conduct. After PHC obtained a court ordered forensic examination of

 Total’s computer network, Total produced numerous invoices and documents identifying the sales.

 Total then withdrew its assertion that PHC infringes claims 1, 2, 6-10, 16, and 17 of the ’428 Patent,

 acknowledging that the claims were invalid over the pre-critical date sales (but as of this filing still

 has not filed a notice of abandonment of those claims with the USPTO even though it and its

 attorneys know claims 1, 2, 6-10, 16, and 17 are invalid). Total then agreed to pay all costs for the

 forensic examination (an amount over $14,000) to avoid PHC’s going back to the Court. Total

 knew of and concealed its pre-critical date sales of Millennium Test System until the court-ordered

 forensic examination. Total’s conduct warrants an adverse inference of intent to deceive.

 II.     INVALIDITY UNDER 35 U.S.C. §§ 102 AND 103

         “A patent claim is invalid for anticipation under 35 U.S.C. § 102 2 when a prior art reference

 describes each and every limitation and enables one of skill in the art to practice an embodiment

 of the claimed invention without undue experimentation.” In re Chudik, 851 F.3d 1365, 1372 (Fed.

 Cir. 2017) (citations omitted). “Simply put, an anticipated invention is not new.” Id.

         A patent claim is invalid for being obvious under 35 U.S.C. § 103 if “the differences

 between the subject matter sought to be patented and the prior art are such that the subject matter

 as a whole would have been obvious at the time the invention was made to a person having ordinary

 skill in the art.” 35 U.S.C. § 103(a). Unlike anticipation, where a single reference must disclose all


 2
  The American Invents Act (“AIA”), Pub. L. No. 112-29, took effect on September 16, 2012.
 Because the application that issued as the ’428 Patent was filed before that date, the pre-AIA
 version of §§ 102 and 103 apply. Allergan, Inc. v. Apotex Inc., 754 F.3d 952, 958 n.1 (Fed. Cir.
 2014).
                                                     8
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 13 of 31 PageID #:
                                  11606


 claims elements, a party asserting obviousness may rely on the prior art as a whole. Panduit Corp.

 v. Dennison Mfg., 810 F.3d 1561, 1566 (Fed. Cir. 1987). Obviousness requires a showing that a

 person of ordinary skill at the time of the invention would have selected and combined those prior

 art elements in the normal course of research and development to yield the claimed invention.

 Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d 1352, 1360 (Fed. Cir. 2011) (citing KSR Intern. Co.

 v. Teleflex Inc., 550 U.S. 398, 421 (2007)).

         “Whether a reference is prior art is a question of law based on underlying factual

 considerations.” ATEN Int’l Co., Ltd. v. Uniclass Tech. Co., Ltd., 2019 WL 3558562, at *2 (Fed.

 Cir. Aug. 6, 2019) (citing TypeRight Keyboard Corp. v. Microsoft Corp., 374 F.3d 1151, 1157

 (Fed. Cir. 2004)); see also In re Epstein, 32 F.3d 1559, 1564 (Fed. Cir. 1994) (“Whether something

 is ‘in public use or on sale’ within the meaning of section 102(b), and thus properly considered

 prior art, is a question of law with subsidiary issues of fact.”). PHC will demonstrate that offers

 for sale, sales, disclosures, and uses of systems before the invention of the ’428 Patent and before

 the critical date of the ’428 Patent constitute prior art that invalidates all claims of the ’428 Patent

 under 35 U.S.C. §§ 102 and 103. Because “[w]hether a prior art reference anticipates a patent

 claim is a question of fact,” anticipation is not addressed in this Memorandum. TriMed, Inc. v.

 Stryker Corp., 608 F.3d 1333, 1343 (Fed. Cir. 2010). Because “[o]bviousness is a question of law

 based on underlying factual findings. . .,” obviousness is addressed after a discussion of what

 constitutes the prior art. Id. (citing Kinetic Concepts, Inc. v. Smith & Nephew, Inc., 688 F.3d 1342,

 1360 (Fed. Cir. 2012)).

         A.      References and Activities that Qualify as “Prior Art”

                 i.      35 U.S.C. § 102(a).

         Prior art may be established under 35 U.S.C. § 102(a), which states in pertinent part, “[a]

 person shall be entitled to a patent unless . . . (a) the invention was known or used by others in this

                                                    9
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 14 of 31 PageID #:
                                  11607


 country, or patented or described in a printed publication in this or a foreign country, before the

 invention thereof by the applicant for patent . . . .” 35 U.S.C. § 102(a). “This is because if the

 invention was known to or used by others in this country before the date of the patentee’s invention,

 the later invention has not contributed to the store of knowledge, and has no entitlement to a patent.”

 UCB, Inc. v. Watson Laboratories, Inc., 927 F.3d 1272, 1289 (Fed. Cir. 2019).

        “Section 102(a) explicitly refers to invention dates not filing dates.” Abbott GmbH & Co.,

 KG v. Centocor Ortho Biotech, Inc., 870 F. Supp. 2d 206 (D. Mass. 2012) (citation omitted). “An

 earlier date of invention may be established by showing that, prior to the filing date, the inventor

 either reduced the invention to practice or conceived of it and exercised reasonable diligence

 toward reducing it to practice at a later date.” Id. However, “[g]enerally, a patented invention is

 presumed to have been invented on the date when the patent application was filed.” Abbott GmbH

 & Co., KG v. Centocor Ortho Biotech, Inc., 870 F.Supp.2d 206 (D. Mass. 2012) (citing 1-3 Chisum

 on Patents § 3.08) (“The date of invention of the applicant or patentee . . . is presumed to be the

 date he files a complete application.”). “It is the patentee’s burden to present evidence of an earlier

 invention.” UCB, Inc., 927 F.3d at 1289, n.14 (citing Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572,

 1576-78 (Fed. Cir. 1996)). In the present case, invalidating prior art takes many forms.

                        1.      Public Use Prior Art

        Public uses of a system or method may constitute prior art. “For prior art to anticipate

 because it has been ‘used,’ the use must be accessible to the public.” Id. “[A]t most the publicity

 requirement in Section 102(a) means the absence of affirmative steps to conceal.” Ormoco Corp.

 v. Align Technology, Inc., 463 F.3d 1299, 1305-06 (Fed. Cir. 2006); 1-3 Chisum on Patents § 3.05

 (2006); see also Morris & Associates, Inc. v. Cooling & Applied Tech., Inc., 2011 WL 2580668,

 at *6-7 (E.D.N.C. Jun. 29, 2011) (listing cases that support the proposition “[f]or a method or



                                                   10
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 15 of 31 PageID #:
                                  11608


 system to be in ‘public use’ within the meaning of 35 U.S.C. § 102(a) or (b), the method or system

 must be used in the ordinary course of business without active efforts to conceal its operation.”).

 “Prior knowledge and use by a single person is sufficient.” UCB, Inc., 927 F.3d at 1289 (citing

 Coffin v. Ogden, 85 U.S. 120, 124 (1873)).

        “Prior use under 35 U.S.C. § 102(a) only requires that all of the elements of the claimed

 invention be used by others accessible to the public.” Chrimar Sys., Inc. v. Cisco Sys., Inc., 318 F.

 Supp. 2d 476, 507 (E.D. Mich. 2004) (citing Lockwood v. American Airlines, Inc., 107 F.3d 1565,

 1570 (Fed. Cir. 1997)). “[T]he public need not have access to the ‘inner workings’ of a device for

 it to be considered ‘in public use’ or ‘used by others’ within the meaning of § 102.” CA, Inc. v.

 Simple.com, Inc., 780 F. Supp. 2d 196, 304 (E.D.N.Y. 2009) (citing Lockwood, 780 F.3d at 1570);

 see also Lockwood, 780 F.3d at 1570 (“Lockwood attempts to preclude summary judgment by

 pointing to record testimony that one skilled in the art would not be able to build and practice the

 claimed invention without access to the secret aspects of SABRE. However, it is the claims that

 define a patented invention. . .. American’s public use of the high-level aspects of the SABRE

 system was enough to place the claimed features of the ’359 patent in the public’s possession.”).

 “Evidence of routine business practice can be sufficient to prove that a reference was made

 accessible before a critical date.” Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1569

 (Fed. Cir. 1988), cert. denied, 488 U.S. 892 (1988).

        UCB is an exemplary case of invalidating “use” under § 102(a). In UCB, the Federal Circuit

 affirmed invalidity under § 102(a) based on the use of a medication by a single patient for a few

 days before the filing date of the patent. UCB, Inc. v. Watson Laboratories Inc., 927 F.3d 1272,

 1289-90 (Fed. Cir. 2019).




                                                  11
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 16 of 31 PageID #:
                                  11609


                         2.      Public Knowledge

         Public knowledge also may be prior art. “An invention is known under Section 102(a)

 when the knowledge in question is (a) publicly accessible and (b) sufficient to enable one of

 ordinary skill in the art to practice the invention.” Iovate Health Sciences, Inc. v. Bio-Engineered

 Supplements & Nutrition, Inc., 2008 WL 7842052, at *2 (E.D. Tex. Aug. 27, 2008) (citing Minn.

 Mining & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1301 (Fed. Cir. 2002)). Public knowledge

 under § 102(a) can also be demonstrated by showing “the state of knowledge and use in [the United

 States].” Ecolochem, Inc. v. Southern California Edison Co., 227 F.3d 1361, 1369 (Fed. Cir. 2000)

 (“A presentation indicative of the state of knowledge and use in this country therefore qualifies as

 prior art for anticipation purposes under § 102.”).

         The standard for enablement for Section 102 “is different from the standard under Section

 112.” Iovate Health, 2008 WL 7842052, at *5 (citing Novo Nordisk Pharma., Inc. v. Bio-Tech.

 General Corp., 424 F.3d 1347, 1355 (Fed. Cir. 2005)). “The Section 102 standard is somewhat

 easier to meet, because it ‘only requires that those suggestions [in the disclosure] be enabled to

 one of skill in the art,’ not that the suggestions must enable one skilled in the art to actually perform

 the invention.” Id. (citing Nova Nordisk, 424 F.3d at 1355) (emphasis added). Conversely, “[u]nder

 Section 112, a patent specification must ‘enable any person skilled in the art … to make and use’

 the invention described.” Id. “Section 102, which does not use the word ‘enable,’ only requires

 that the person of skill in the art recognize that what is described in the prior art reference could

 be practiced.” Id.

                         3.      Printed Publication

         Printed publications also may constitute invalidating prior art. Because the analysis is

 similar to the analysis as to what printed publications constitute prior art under § 102(b), what

 printed publications constitute “prior art” under § 102(a) is discuss in Section II(A)(ii)(3), infra.
                                                    12
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 17 of 31 PageID #:
                                  11610


                 ii.     35 U.S.C. § 102(b).

         35 U.S.C. § 102(b) provides:
         A person shall be entitled to a patent unless . . . (b) the invention was patented or
         described in a printed publication in this or a foreign country or in public use or
         on sale in this country, more than one year prior to the date of the application for
         patent in the United States.

 35 U.S.C. § 102(b). “An offer for sale, sale, or public use, if more than one year before the patent

 application was filed, will bar patenting of the product, even if the sale was not authorized by the

 patentee.” ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 866 (Fed. Cir. 2010). “Whether a patent

 is invalid for a public use or sale is question of law based on underlying facts.” Netscape Comms.

 Corp. v. Konrad, 295 F.3d 1315, 1320 (Fed. Cir. 2002).

                         1.      Public Use

         Public use also can invalidate a patent (and in this way, such public use is the equivalent

 to “prior art”). “Under the public use provision, a patent is invalid if the invention was ‘in public

 use…in this country…more than one year prior to the date of the application for patent.”

 Schlumberger Tech. Corp. v. BICO Drilling Tools, Inc., 2019 WL 2450948, at *10 (S.D. Tex.

 June 12, 2019). “Public use includes ‘any use of [the claimed] invention by a person other than the

 inventor who is under no limitation, restriction or obligation of secrecy to the inventor.’” Id. (citing

 Petrolite Corp., 95 F.3d at 1425). “Public use by a third party, with or without the knowledge or

 consent of the patentee, will generally defeat the patent as readily as public use by the inventor

 himself.” Cali v. Eastern Airlines, Inc., 442 F.2d 65, 68 (2d Cir. 1971) (citations omitted). “For

 public use, the court must consider whether the purported use ‘(1) was accessible to the public; or

 (2) was commercially exploited.” Id. (citing Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374,

 1378 (Fed. Cir. 2005)). “Cases in which courts find that a prior use was not a ‘public use’ within

 the meaning of 35 U.S.C. § 102 have found active concealment of the method or system by the


                                                   13
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 18 of 31 PageID #:
                                  11611


 prior user, typically by contractual agreements to maintain secrecy.” Delano Farms Co. v.

 California Table Grape Comm’n, 940 F. Supp. 2d 1229, 1244 (E.D. Cal. 2013).

                                a.     Accessible to the Public.

        The seminal case on accessibility to the public is Egbert v. Lippmann, 104 U.S. 333 (1881).

 In Egbert, the Court held that there was a public use when an inventor presented corset steels to a

 third-party for use, the inventor imposed no obligation of secrecy, nor any condition or restriction,

 and the third party used them for years for the purpose and in the manner designed by the inventor.

 Egbert, 104 U.S. at 337. The Court held “to constitute the public use of an invention it is not

 necessary that more than one of the patented articles should be publicly used,” “whether the use

 of an invention is public or private does not necessarily depend upon the number of persons to

 whom its use was known,” and “[a]n invention may consist of a lever or spring, hidden in the

 running gear of a watch, or of a rachet, shaft, or cog-wheel covered form view in the recesses of a

 machine for spinning of weaving. Nevertheless, if its inventor sells a machine of which his

 invention forms a part, and allows it to be used without restriction of any kind, the use is a public

 one.” Id. at 336; see Eolas Technologies Inc. v. Microsoft Corp., 399 F.3d 1325, 1334 (Fed. Cir.

 2005) (finding public use where third party demonstrated claimed invention to two engineers “who

 were under no confidentiality obligation.”); see also Netscape Commns. Corp. v. Konrad, 295 F.3d

 1315 (Fed. Cir. 2002) (finding disclosure to two University of California computing personnel was

 an invalidating public use because “they were under no obligation to keep disclosure

 confidential.”).

                                b.     Commercially Exploited.

        “[T]he ordinary use of a machine or the practice of a process in a factory in the usual course

 of producing articles for commercial purposes is a public use.” Motionless Keyboard Co. v.

 Microsoft Corp., 486 F.3d 1376, 1384 (Fed. Cir. 2007) (citing Electric Storage Battery Co. v.

                                                  14
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 19 of 31 PageID #:
                                  11612


 Shimadzu, 307 U.S. 5 (1939)). “[I]t is generally acknowledged that ‘a use is public even though it

 occurs in a factory or other area in which the general public is excluded.’” See Research Equip.

 Solutions v. Gary W. Clem, Inc., 2012 WL 6650873, at *8 (D. Kan. Dec. 20, 2012) (citing 2-6

 Chisum § 6.02(a)).

          In Electric Storage, the Supreme Court held the patents-at-issue invalid for public use

 because (1) the accused infringer independently came upon both the method and the apparatus of

 the patents, and “continuously employed the alleged infringing machine and process for the

 production of lead oxide power used in the manufacture of plates for storage batteries which have

 been sold in quantity,” and (2) “[t]here is no finding . . . to the effect that the machine, process,

 and product were not well known to the employees in the plant, or that efforts were made to conceal

 them from anyone who had a legitimate interest in understanding them.” Electric Storage, 307 U.S.

 at 20.

                         2.      On-Sale Bar

          “[Section] 102(b) renders invalid a patent directed to an invention placed on sale in the

 United States more than one year before filing of the patent application. That bar is not limited to

 sales by the inventor or one under his control, but may result from activities of a third party.” J.A.

 LaPorte, Inc. v. Norfolk Dredging Co., 787 F.2d 1577, 1581 (Fed. Cir. 1986); see also Luma Corp.

 v. Stryker Corp., 2006 WL 2076780, at *14 (S.D.W. Va. July 24, 2016) (“The On-Sale Bar applies

 to sales pre-dating the critical date by third parties as well as by the patentee.”) (citing In re

 Caveney, 761 F.2d 671, 676 (Fed. Cir. 1985)). “[T]he on-sale bar under 35 U.S.C. §102(b) applies

 when, before the critical date, the claimed invention (1) was the subject of a commercial sale; and

 (2) was ready for patenting.” Medicines Co. v. Hospira, Inc., 827 F.3d 1363, 1372 (Fed. Cir. 2016)

 (citing Pfaff v. Wells Elec., Inc., 525 U.S. 55, 67-68 (1998)). “The ‘public use’ or ‘on-sale’ inquiry

 ‘is not whether the sale, even a third party sale, ‘discloses’ the invention at the time of the sale, but
                                                    15
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 20 of 31 PageID #:
                                  11613


 whether the sale relates to a device that embodies the invention.” Briggs & Stratton Corp. v.

 Chonqing RATO Power Co., Ltd., Civ. No. 5:13-cv-01316, 2015 WL 4603553, at *3 (N.D.N.Y.

 July 30, 2015) (citing J.A. LaPorte, Inc., 787 F.2d at 1583). “A single sale is sufficient to bar

 patentability.” Energy Heating, LLC v. Heat On-The-Fly, LLC, Case No. 4:13-cv-10, 2016 WL

 10837799, at *3 (D.N.D. Jan. 14, 2016) (citing Electromotive Division of General Motors Corp.

 v. Transportation Sys. Division of General Electric Co., 417 F.3d 1203, 1209 (Fed. Cir. 2005)).

 “Whether an invention is ‘on sale’ within the meaning of § 102(b) is a question of law based on

 underlying factual findings.” In re Kollar, 286 F.3d 1326, 1329 (Fed. Cir. 2002) (citations omitted).

                        3.      Printed Publication

        “This court and its predecessor have interpreted the ‘printed publication’ provision of 35

 U.S.C. § 102(b) [pre-AIA] in light of its purpose ‘to prevent the withdrawal by an inventor . . . of

 that which was already in the possession of the public.’” Jazz Pharma., Inc. v. Amneal Pharma.,

 LLC, 895 F.3d 1347, 1355 (Fed. Cir. 2018) (citing Medtronic, Inc. v. Barry, 891 F.3d 1368, 1380

 (Fed. Cir. 2018)). “Because there are many ways in which a reference may be disseminated to the

 interested public, ‘public accessibility’ has been called the touchstone in determining whether a

 reference constitutes a ‘printed publication’ . . ..” Id. (citing In re Hall, 781 F.2d 897, 898-99 (Fed.

 Cir. 1986)). “A reference is considered publicly accessible ‘upon a satisfactory showing that such

 document has been disseminated or otherwise made available to the extent that persons interested

 and ordinarily skilled in the subject matter or art, exercising reasonable diligence, can locate it.’”

 Id. (citing Wyer, 655 F.2d at 226)). “If accessibility is proved, there is no requirement to show that

 particular members of the public actually received the information.” Id. (citing Constant v.

 Advanced Micro-Devices, Inc., 848 F.2d 1560, 1569 (Fed. Cir. 1988)); see also Transocean




                                                   16
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 21 of 31 PageID #:
                                  11614


 Offshore Deepwater Drilling, Inc. v. GlobalSantaFe Corp., 443 F. Supp. 2d 836, 848 (S.D. Tex.

 2006) (holding limited distributions of brochure for oil rig was “printed publication”).

        “The proper test of a publication as a § 102(b) bar is ‘whether one skilled in the art to which

 the invention pertains could take the description of the invention in the printed publication and

 combine it with his own knowledge of the particular art and from this combination be put in

 possession of the invention on which a patent is sought.’ In particular, one must be able to make

 the claimed invention without undue experimentation.” In re Elsner, 381 F.3d 1125, 1128 (Fed.

 Cir. 2004) (citations omitted). District courts are to “presume the enablement of unclaimed (and

 claimed) material in a prior art patent defendant asserts against a plaintiff.” Amgen Inc. v. Hoechst

 Marion Roussel, Inc., 314 F.3d 1313, 1344 (Fed. Cir. 2003). The presumption also applies to prior

 art publications a defendant asserts against a plaintiff. Robocast, Inc. v. Apple Inc., 39 F. Supp. 3d

 552, 565 (D. Del. 2014); see also Amgen, 314 F.3d at 1344 n.22; In re Antor Media Corp., 689

 F.3d 1282, 1288 (Fed. Cir. 2012).

        An exemplary case of an invalidating “printed publication” under § 102 (b) is In re Hall,

 781 F.2d 897, 897 (Fed. Cir. 1986). In Hall, the issue was whether a third-party dissertation

 submitted to the Department of Chemistry and Pharmacy at Freiburg University in the Federal

 Republic of Germany before the critical date was prior art under § 102(b). The Court held the

 dissertation was prior art, reasoning:

        Dr. Will’s [who was the director and manager of the Loan Department of the
        Library of Freiburg University] affidavits give a rather general library procedure as
        to indexing, cataloging, and shelving of theses. Although no specific dates are cited
        (except that the thesis was received on November 4, 1977), Dr. Will’s affidavits
        consistently maintain that inasmuch as the Foldi dissertation was received by the
        library in early November 1977, the dissertation “most probably was available for
        general use toward the beginning of the month of December, 1977.” The only
        reasonable interpretation of the affidavits is that Dr. Will was relying on his
        library’s general practice for indexing, cataloging, and shelving theses in estimating
        the time it would have taken to make the dissertation available to the interested

                                                  17
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 22 of 31 PageID #:
                                  11615


        public. Dr. Will’s affidavits are competent evidence, and in these circumstances,
        persuasive evidence that the Foldi dissertation was accessible prior to the critical
        date. Reliance on an approximation found in the affidavits such as “toward the
        beginning of the month of December, 1977” works no injustice here because the
        critical date, February 27, 1978, is some two and one half months later. Moreover,
        it is undisputed that appellant proffered no rebuttal evidence.

 In re Hall, 781 F.2d 897, 899 (Fed. Cir. 1986).

        Here, PHC will show several references to be prior art. For example, the Millennium Test

 Systems that Total offered for sale, sold, installed, and used before the critical date are prior art

 under 102(b). Similarly, the Cameron Quote was an offer for sale and printed publication by Total

 for Millennium Test Systems that is prior art under 102(b).

        PHC will show the Schlumberger 2003 and Offshore 2006 systems are prior art under

 102(a) and 102(b). The evidence will prove the systems were offered for sale, sold, installed,

 commissioned, and “started-up” by employees of third-party Ruelco, Inc., who were not under any

 obligation to keep them confidential. The systems were also purchased, used, and commercially

 exploited by employees of third parties and third parties who were not under any obligation to

 keep them confidential.

        PHC will show Haskel 1990 and Haskel Ad 55680 were brochures made and distributed

 by Haskel long before the critical date and, thus, are prior art printed publications under 102(a)

 and 102(b). Haskel 1996 was a published article in the June 1996 edition of World Pumps

 magazine and is a prior art printed publication under 102(a) and 102(b). Haskel Model 55680 was

 a pressure testing device sold by Haskel to at least three parties before the critical date and is prior

 art under 102(a) and 102(b). These systems are prior art that anticipate and/or render obvious the

 claims of the ’428 Patent.

        B.      Obviousness

        The ’428 Patent also is invalid for obviousness under 35 U.S.C. § 103. “A patent is invalid


                                                   18
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 23 of 31 PageID #:
                                  11616


 for obviousness ‘if the differences between the subject matter sought to be patented and the prior

 art are such that the subject matter as a whole would have been obvious at the time the invention

 was made to a person having ordinary skill in the art to which said subject matter pertains.’” Circuit

 Check Inc. v. QXQ Inc., 795 F.3d 1331, 1334-35 (Fed. Cir 2015) (citing 35 U.S.C. § 103(a)).

 “Obviousness is a question of law based on underlying factual findings. . ..” Id. (citing Kinetic

 Concepts, Inc. v. Smith & Nephew, Inc., 688 F.3d 1342, 1360 (Fed. Cir. 2012)).

         “The term ‘prior art’ as used in section 103 refers at least to the statutory material named

 in 35 U.S.C. § 102. Riverwood Intern. Corp. v. R.A. Jones & Co., Inc., 324 F.3d 1346, 1354 (Fed.

 Cir. 2003); see also Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1305 (Fed. Cir. 2006)

 (“‘Prior art’ in the obviousness context includes the material identified in section 102(a)”)

 (citations omitted); Dippin’ Dots, Inc. v. Mosey, 476 F.3d 1337, 1344 (Fed. Cir. 2007) (“Prior art

 under the § 102(b) on-sale bar is also prior art for the purposes of obviousness under § 103.”)

 (citations omitted); Novo Nordisk A/S v. Caraco Pharma. Labs., Ltd., 2010 WL 2403041, at *2

 (E.D. Mich. Jun. 9, 2010) (listing cases). “Section 102(b) may create a bar to patentability either

 alone, if the device placed on sale is an anticipation of the later claimed invention or, in conjunction

 with 35 U.S.C. § 103 (1988), if the claimed invention would have been obvious from the on-sale

 device in conjunction with the prior art.” LaBounty Mfg., Inc. v. United States Int’l Trade Comm’n,

 958 F.2d 1066, 1071 (Fed. Cir. 1992).

         “A reference qualifies as prior art for an obvious determination under § 103 only when it

 is analogous to the claimed invention.” In re Klein, 647 F.3d 1343, 1348 (Fed. Cir. 2011) (citing

 Innovention Toys, LLC v. MGA Entertainment, Inc., 637 F.3d 1314, 1321 (Fed. Cir. 2011)). “Two

 separate tests define the scope of analogous prior art: (1) whether the art is from the same field of

 endeavor, regardless of the problem addressed and, (2) if the reference is not within the field of



                                                   19
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 24 of 31 PageID #:
                                  11617


 the inventor’s endeavor, whether the reference still is reasonably pertinent to the particular

 problem with which the inventor is involved.” Id. (citing In re Bigio, 381 F.3d 1320, at 1325 (Fed.

 Cir. 2004)). “Whether a prior art reference is ‘analogous’ is a question of fact.” Innovention Toys,

 637 F.3d at 1321 (citations omitted).

         “A claim can be obvious even where all of the claimed features are not found in specific

 prior art references, where ‘there is a showing of a suggestion or motivation to modify the

 teachings of [the prior art] to the claimed invention.’” Ormco Corp. v. Align Tech., Inc., 463 F.3d

 1299, 1307 (Fed. Cir. 2006). “A ‘motivation to combine may be found explicitly or implicitly in

 market forces; design incentives; the ‘interrelated teachings of multiple patents;’ ‘any need or

 problem known in the field of endeavor at the time of invention and addressed by the patent’; and

 the background knowledge, creatively, and common sense of the person of ordinary skill.’” ZUP,

 LLC v. Nash Manu., Inc., 896 F.3d 1365, 1371 (Fed. Cir. 2018). “When there is a design need or

 a market pressure to solve a problem and there are a finite number of identified, predictable

 solutions, a person of ordinary skill has good reason to pursue the known options within his or her

 technical grasp. If this leads to the anticipated success, it is likely the product not of innovation but

 of ordinary skill and common sense.” KSR Intern. Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007).

         PHC will show that the cited prior art renders all claims of the ’428 Patent obvious through

 various combinations of prior art referenced in its exhibit list.

 III.    DAMAGES AND ATTORNEY FEES, EXPENSES, AND COSTS

         A.      Damages Generally

         “Upon finding for the claimant the court shall award the claimant damages adequate to

 compensate for the infringement, but in no event less than a reasonable royalty for the use made

 of the invention by the infringer, together with interest and costs as fixed by the court.” 35 U.S.C.

 284. “[T]he statutory measure of damages is ‘the difference between the patent owner’s pecuniary

                                                    20
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 25 of 31 PageID #:
                                  11618


 condition after the infringement, and what his condition would have been if the infringement had

 not occurred.’” Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1283 (Fed. Cir. 2017).

 “Whether the lost profits at issue are legally compensable is a question of law . . ..” Rite-Hite Corp.

 v. Kelley Co., Inc., 56 F.3d 1538, 1544 (Fed. Cir. 1995) (en banc).

         To obtain lost profits, the patentee must establish that “but for” the conduct of the infringer,

 the patentee would have made those profits. Mentor Graphics, 851 F.3d at 1284. “The burden of

 proving damages falls on the patentee.” Lucent Tech., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324

 (Fed. Cir. 2009). “There is no particular required method to prove but for causation. One ‘useful,

 but non-exclusive’ method to establish the patentee’s entitled to lost profits is the Panduit test first

 articulated by the Sixth Circuit. Mentor Graphics, 851 F.3d at 1284. Under the Panduit test, a

 patentee is entitled to lost profits damage if it can establish (1) demand for the patented product;

 (2) absence of acceptable non-infringing alternatives; (3) manufacturing and marketing capability

 to exploit the demand; and (4) the amount of profit it would have made. Id. at 1285. Damages

 under Panduit are not easy to prove. Id. (citing string of publications and cases showing lost profits

 are not easy to prove).

         “The first [Panduit] factor—demand for the patent product—considers demand for the

 product as a whole. The second factor—the absence of non-infringing alternatives—considers

 demand for particular limitations or features of the claimed invention.” Mentor Graphics, 851 F.3d

 at 1285 (citation omitted). “The second factor, absence of acceptable non-infringing alternatives,

 often proves the most difficult for patent holders. Under this factor, if there is a non-infringing

 alternative which any given purchaser would have found acceptable and bought, then the patentee

 cannot obtain lost profits for that particular sale.” Id. at 1286.

         PHC will show Total is not entitled its alleged lost profits at least because (1) PHC’s



                                                    21
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 26 of 31 PageID #:
                                  11619


 conduct was not the but-for cause of any lost sale; and (2) a plethora of non-infringing alternatives

 are acceptable to purchasers.

         B.      Lack of Standing

         Total does not have standing to recover damages occurring prior to the March 26, 2015

 executed assignment. “The general rule is that one seeking to recover money damages for

 infringement of a United States patent . . . must have held the legal title to the patent during the

 time of the infringement.” Arachnid, Inc. v. Merit Indus., Inc., 939 F.2d 1574, 1579 (Fed. Cir.

 1991) (emphasis in original) (citing Crown Die & Tool Co. v. Nye Tool & Mach. Works, 261 U.S.

 24, 40-41 (1923)). Whether a party has standing to sue for patent infringement is a question of law.

 Israel Bio-Eng’g Project v. Amgen Inc., 475 F.3d 1256, 1262 (Fed. Cir. 2007).

         The right to sue for past damage for infringement is not transferred to an assignee “unless

 the assignment agreement manifests an intent to transfer this right.” Minco, Inc. v. Combustion

 Eng’g, Inc., 95 F.3d 1109, 1117 (Fed. Cir. 1996). “[I]t is a ‘great mistake’ to ‘suppose’ that the

 assignment of the patent carries with it the right to sue for past infringement.” Minco at 1117 (citing

 Moore v. March, 74 U.S. 515, 522 (1868)). “Under the general rule, a bare reference to all right,

 title, and interest does not normally transfer the right to sue for past infringement.” Id.; see also

 Ruling and Order at 3-4 (Dkt. 148) (“Courts have repeatedly held that absent explicit language

 conveying the right to sue for past infringement, the assignee lacks standing to sue for past

 infringement . . ..”).

         The determination of “whether the right to sue for prior infringement has been transferred

 turns on the proper construction of the assignment agreement.” Id. This is a matter of state contract

 law. Id. Under Louisiana law, “[t]he words of a contract are to be construed using their plain,

 ordinary and generally prevailing meaning, unless the words have acquired a technical meaning.”

 Guidry v. American Public Life Ins. Co., 512 F.3d 177, 181 (5th Cir. 2007) (internal citations
                                                   22
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 27 of 31 PageID #:
                                  11620


 omitted); see also LA. CIV. CODE ANN. art. 2047. “When a contract’s language is ‘clear and

 explicit and leads to no absurd consequences, no further interpretation may be made in search of

 the parties’ intent.’” Guidry at 181 (citing LA. CIV. CODE ANN. art. 2046); see also UD Tech.

 Corp. v. Phenomenex, Inc., No. 05-842-GMS, 2007 WL 28295, at *4 (D. Del. Jan. 7, 2007)

 (holding that the relevant question is not the intent of the parties but whether the assignment

 agreement manifests an intent to transfer the right to sue for prior infringement).

        Finally, a failure to timely assign the right to sue for past damage cannot be corrected after

 the lawsuit was filed. Messagephone, Inc. v. SVI Sys., Inc., No. 99-1471, 2000 WL 1141046, at *5

 (Fed. Cir. 2000), as amended on denial of reh’g (Dec. 13, 2000); see also Permacel Kansas City,

 Inc. v. Soundwich, Inc., No. 03-0766, 2006 WL 1449979 (W.D. Mo. May 24, 2006); Advanced

 Tech. Incubator, Inc. v. Sharp Corp., No. 2:07-468, 2009 WL 2460985, at *6 (E.D. Tex. Aug. 10,

 2009); IPXpharma, LLC v. Millennium Pharm., Inc., No. 3:14-1545, 2014 WL 6977662, at *6

 (M.D. Tenn. Dec. 9, 2014).

        In its Ruling and Order on PHC’s Motion for Summary Judgment re Total’s lack of

 standing to sue for past damages, this Court held that “[g]enerally speaking, rights to an invention

 belong to the inventor. But if the inventor is the alter ego of a company because he has a close and

 intertwined relationship with the company, then the company has total ownership over the

 invention.” Ruling and Order at 4-5 (citing Bd. of Trustees v. Roche Molecular Sys., 563 U.S. 776,

 786 (2011); LeFiell v. United States, 162 Ct. Cl. 865, 869 (Ct. Cl. 1963)). The Court then denied

 PHC’s Motion for Partial Summary Judgment holding there is “a genuine dispute of material fact

 as to whether Lavergne is the alter ego of Plaintiff, and whether Plaintiff has standing to sue for

 alleged infringement before Lavergne assigned the patent to Plaintiff.” Id. at 5. “Whether or not

 such relationship exists is a question of fact to be decided upon all the circumstances of the



                                                  23
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 28 of 31 PageID #:
                                  11621


 individual case.” LeFiell v. U.S., 162 Ct. Cl. 865, 869 (Ct. Cl. 1963). PHC will demonstrate

 Lavergne and Total were not alter egos.

        C.      Willfulness

        “Section 284 of the Patent Act provides that, in a case of infringement, courts ‘may increase

 the damages up to three times the amount found or assessed.’” Halo Elec., Inc. v. Pulse Elec., Inc.,

 136 S.Ct. 1923, 1928 (2016) (citing 35 U.S.C. § 284). “[C]ourts should continue to take into

 account the particular circumstances of each case in deciding whether to award damages, and in

 what amount.” Id. at 1933. Enhanced damages “should generally be reserved for egregious cases

 typified by willful misconduct,” but need not “follow a finding of egregious conduct.” Id. at 1933-

 34. There is no evidence of willfulness in this case.

        D.      Exceptional Case for Attorney Fees, Expenses and Costs

       “The court in exceptional cases may award reasonable attorney fees to the prevailing party.”

 35 U.S.C. § 285. “In 1952, when congress used the word [‘exceptional’] in § 285 (and today, for

 that matter), ‘exceptional’ meant ‘uncommon,’ ‘rare,’ or ‘no ordinary.’” Octane Fitness, LLC v.

 ICON Health & Fitness, Inc., 572 U.S. 545, 553 (2014) (citing Webster’s New Int’l Dictionary

 889 (2d ed. 1934)). “[A]n exceptional case is simply one that stands out from others with respect

 to the substantive strength of a party’s litigating position (considering both the government law

 and the facts of the case) or the unreasonable manner in which the case was litigated. District courts

 may determine whether a case is ‘exceptional’ in the case-by-case exercise of their discretion,

 considering the totality of the circumstances.” Octane Fitness, LLC v. ICON Health & Fitness,

 Inc., 572 U.S. 545, 554 (2014). PHC will show this is an exceptional case for which it is entitled

 to any award under 35 U.S.C. § 285 given the meritless claims, inequitable conduct, withholding

 of evidence, discovery conduct, and other factors.



                                                  24
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 29 of 31 PageID #:
                                  11622


        E.      Attorney Fees, Expenses and Costs Under 28 U.S.C. § 1927

        Although not necessarily an issue for trial, PHC anticipates filing a post-trial motion for

 sanctions under 28 U.S.C. § 1927 against Total’s counsel–both firm and attorneys. “Any attorney

 or other person admitted to conduct cases in any court of the United States . . . who so multiplies

 the proceedings in any case unreasonably and vexatiously may be required by the court to satisfy

 personally the excess costs, expenses, and attorneys’ fees reasonably incurred because of such

 conduct.” 28 U.S.C. § 1927. “In order to award sanctions, the court must find evidence of ‘bad

 faith, improper motive, or reckless disregard of the duty owed to the court.” Oliver v. City of

 Garland, TX, 2008 WL 4444320, at *1 (E.D. Tex. Sept. 26, 2008) (citing Proctor & Gamble Co.

 v. Amway Corp., 280 F.3d 519, 525 (5th Cir. 2002)).

        Total’s counsel’s conduct warrants sanctions because it has been both unreasonable and

 vexatious. As will be explained in that motion, the attorney took several sanctionable actions

 including but not limited to maintaining “implausible” positions on failure to disclose;

 unsupportable and ever-changing theories of infringement; misrepresentations regarding the

 deleted status of documents showing prior sales; and other bad faith litigation.

        Dated: August 19, 2019
                                                      Respectfully submitted,
                                                      MILLER LEGAL PARTNERS PLLC

                                                      /s/ Nicholas R. Valenti
                                                      Samuel F. Miller, TN Bar No. 22936
                                                      Nicholas R. Valenti, TN Bar No. 35420
                                                      Fifth Third Center–Suite 2000
                                                      424 Church Street
                                                      Nashville, Tennessee 37129
                                                      Tel/Fax: (615) 988-9011
                                                      Email: smiller@millerlegalpartners.com
                                                      nvalenti@millerlegalpartners.com

                                                      NEUNERPATE

                                                 25
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 30 of 31 PageID #:
                                  11623




                                           /s/ Cliff A. Lacour
                                           Brandon W. Letulier - #28657
                                           Cliff A. LaCour - #30581
                                           One Petroleum Center, Suite 200
                                           1001 West Pinhook Road
                                           Lafayette, Louisiana 70503
                                           Tel: (337) 237-7000
                                           Fax: (337) 233-9450
                                           Email: bletulier@neunerpate.com
                                                    clacour@neunerpate.com

                                           Attorneys for PHC Fluid Power, L.L.C.




                                      26
Case 6:15-cv-01855-TAD-CBW Document 308 Filed 08/19/19 Page 31 of 31 PageID #:
                                  11624


                                CERTIFICATE OF SERVICE
        The undersigned certifies that on this __ day of August 2019, a copy of the foregoing was
 served on counsel of record listed below via the Court’s ECF system:
 William W. Stagg
 Chase A. Manuel
 Steven G. Durio
 Tyler Rush
 Durio, McGoffin, Stagg & Ackermann, PC
 220 Heymann Boulevard (70503)
 Post Office Box 51308 Lafayette, LA 70505-1308
 Bill@dmsfirm.com
 Chase@dmsfirm.com
 Buzz@dmsfirm.com
 tyler@dmsfirm.com

 Brandon W. Letulier
 Cliff A. LaCour
 NeunerPate
 One Petroleum Center, Suite 200
 1001 W. Pinhook Road
 Lafayette, LA 70503
 bletulier@neunerpate.com
 clacour@neunerpate.com

                                                            s/ Nicholas R. Valenti
                                                            Nicholas R. Valenti




                                               27
